             Case 1:00-mc-00308 Document 91 Filed 03/12/20 Page 1 of 1

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

IN RE:
COURT OPERATIONS UNDER THE EXIGENT *                                  MISC. NO. 00-308
CIRCUMSTANCES CREATED BY COVID-19 *
                                 *****
                     STANDING ORDER 2020-03

        WHEREAS, the Governor of the State of Maryland has declared a state of emergency in

response to the spread of the novel coronavirus known as COVID-19; and

        WHEREAS, the Centers for Disease Control and Prevention and other public health

authorities have advised taking precautions to reduce the possibility of exposure to the virus and

slow the spread of the disease; and

        WHEREAS, trial jurors often have to work in close quarters to hear the evidence and

deliberate following the presentation of the evidence, it is hereby

        ORDERED by the United States District Court for the District of Maryland that, effective

immediately, all civil and criminal petit jury selections and jury trials scheduled to commence

now through April 24, 2020 before any district or magistrate judge in any courthouse in the

District of Maryland are POSTPONED and CONTINUED pending further Order of the Court;

and it is further

        ORDERED that with regard to criminal trials, due to the Court's reduced ability to obtain

an adequate spectrum of jurors and the effect of the above public health recommendations on the

availability of counsel and Court staff to be present in the courtroom, the time period of the

continuances implemented by this Order will be excluded under the Speedy Trial Act, as the

Court specifically finds that the ends of justice served by ordering the continuances outweigh the

best interests of the public and each defendant in a speedy trial, pursuant to 18 U.S.C.



                                                                             73-4
§ 3161(h)(7)(A).

                    12    2 OZ C.)
Date                                                  Ja es K. Bredar, Chief Judge
                                                      United States District Court
